            Case 2:09-cr-00209-MCE Document 39 Filed 10/28/10 Page 1 of 2


1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    MATTHEW C. BOCKMON, Bar #161566
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    ROY RICE
7
8                        IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       ) No. 2:09-cr-00209-MCE
                                     )
12             Plaintiff,            )
                                     )
13        v.                         ) WAIVER OF DEFENDANT’S PRESENCE
                                     )
14   ROY RICE,                       ) Judge: Morrison C. England, Jr.
                                     )
15             Defendant.            )
     _______________________________ )
16
17         Pursuant to Fed.R.Crim.P. 43, defendant, ROY RICE, hereby waives
18   the right to be present in person in open court upon the hearing of any
19   motion or other proceeding in this case, including, but not limited to,
20   when the case is set for trial, when a continuance is ordered, and when
21   any other action is taken by the Court before or after trial, except
22   upon arraignment, initial appearance, trial confirmation hearing, entry
23   of plea, and every stage of trial including verdict, impanelment of
24   jury and imposition of sentence.
25   ///
26   ///
27   ///
28   ///
            Case 2:09-cr-00209-MCE Document 39 Filed 10/28/10 Page 2 of 2


1          Defendant hereby requests the Court to proceed during every
2    absence of his which the Court may permit pursuant to this waiver and
3    agrees that his interests will be deemed represented at all times by
4    the presence of his attorney, the same as if the defendant were
5    personally present.         Defendant further agrees to be present in Court
6    ready for trial any day and hour the Court may fix in his absence.
7          The defendant further acknowledges that he has been informed of
8    his rights under Title 18 U.S.C. §§ 3161-3174 (The Speedy Trial Act)
9    and authorizes his attorney to set times and delays under that Act
10   without his personal presence.
11   Dated: October 26, 2010
12                                              /s/ Roy Rice
                                               ROY RICE
13                                             (Original retained by attorney)
14         I concur in Mr. Rice’s decision to waive his presence at future
15   proceedings.
16   Dated: October 26, 2010                   Respectfully submitted,
17                                             DANIEL J. BRODERICK
                                               Federal Defender
18
                                                /s/ Matthew C. Bockmon
19                                             MATTHEW C. BOCKMON
                                               Assistant Federal Defender
20                                             Attorney for Defendant, ROY RICE
21   IT IS SO ORDERED.
22
      Dated: October 28, 2010
23
24                                           _____________________________
                                             MORRISON C. ENGLAND, JR.
25
                                             UNITED STATES DISTRICT JUDGE
26
27
28


     Waiver of Appearance/Rice                 2
